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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE



UNWIRED GLOBAL SYSTEMS
LLC,
                                           CASE No. 1:23-CV-01167-CFC
      Plaintiff,
                                           PATENT CASE
             v.                            JURY TRIAL DEMANDED

EUROTECH INC.,
      Defendant.


     PLAINTIFF'S NOTICE OF VOLUNTARY DISMISSAL

     Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff

UNWIRED GLOBAL SYSTEMS LLC hereby dismisses this action without

prejudice. Defendant EUROTECH INC. has not yet answered the Complaint or

moved for summary judgment.



Date: December 6, 2023                   Respectfully submitted,


                                         /s/ John C. Phillips, Jr.
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                                         Unwired Global Systems LLC




                SO ORDERED this ________ day of ______________, ______.



                ________________________________
                The Honorable Colm F. Connolly
                Chief, United States District Court Judge




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